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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-0275 JAM

12                                Plaintiff,            GOVERNMENT’S MOTION FOR REDUCTION
                                                        OF SENTENCE PURSUANT TO FED. R. CRIM. P.
13                          v.                          35 AND ORDER GRANTING MOTION FOR
                                                        REDUCTION
14   THOMAS JOPSON,

15                               Defendant.

16

17          The United States, by and through its attorney of record Assistant United States Attorney Jason

18 Hitt, submits this motion seeking a reduction in the overall sentence of defendant Thomas JOPSON

19 (“defendant”) based upon substantial assistance that he is expected to provide subsequent to his

20 sentencing by this Court.

21                                              BACKGROUND

22          On July 28, 2015, this Court sentenced the defendant to 1 year and 1 day in prison. At the time

23 of the defendant’s sentencing, the United States did not file a motion for reduction of sentence pursuant

24 to U.S.S.G. § 5K1.1 because of uncertainty involving the ability to use the defendant’s substantial

25 assistance in the related criminal matter, United States v. Hoffman, et al., Case No. 2:15-CR-0234 JAM.

26 After defendant’s sentencing events in the Hoffman matter have persuaded the United States that the

27 defendant’s substantial assistance will very likely be important any trial in the Hoffman case. The

28 United States anticipates calling the defendant to provide important trial testimony against Nathan

       GOVERNMENT’S MOTION PURSUANT TO                  1
       FED. R. CRIM. P. 35
              Case 2:11-cr-00275-JAM Document 348 Filed 03/31/16 Page 2 of 3

 1 HOFFMAN and others in a future trial date. Because the defendant’s initial sentence was 1 year and 1

 2 day, his release date requires any benefit for his substantial assistance to be made now or he would

 3 simply receive no benefit for his cooperation. Based on these considerations, the United States now

 4 moves that the defendant’s sentence of 1 year and 1 day be reduced to time served pursuant to Rule

 5 35(b).

 6          On March 30, 2016, I spoke with the defendant’s retained counsel, William Portanova, Esq., and

 7 explained that the United States intended to make a Rule 35 motion on behalf of his client. Mr.

 8 Portanova indicated that he and his client waive any need to appear in Court in connection with this

 9 motion.

10                                                AUTHORITY

11          Pursuant to Rule 35 “[t]he court, on motion of the government made within one year after the

12 imposition of the sentence, may reduce a sentence to reflect a defendant’s subsequent, substantial

13 assistance in the investigation or prosecution of another person . . . .” Fed. R. Crim. P. 35(b). Based

14 upon the defendant’s anticipated testimony in any trial of the Hoffman matter, the United States now

15 moves for the defendant’s sentence of 1 year and 1 day months in prison be reduced to a sentence of

16 time served months in prison. If this motion is granted, the United States respectfully requests that the

17 Court issue an amended judgment reflecting the new sentence and, upon that issuance, the Bureau of

18 Prisons will process the defendant for release.

19

20                                                           BENJAMIN B. WAGNER
                                                             United States Attorney
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22 Dated: March 30, 2016                             By: /s/ JASON HITT
                                                         JASON HITT
23                                                       Assistant United States Attorney
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       GOVERNMENT’S MOTION PURSUANT TO                   2
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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                   CASE NO. 2:11-CR-0275 JAM

11                          Plaintiff,           ORDER GRANTING GOVERNMENT’S MOTION
                                                 FOR REDUCTION PURSUANT TO FEDERAL
12                    v.                         RULE 35 OF FEDERAL RULES OF CRIMINAL
                                                 PROCEDURE
13   THOMAS JOPSON,

14                          Defendant.

15

16             Upon motion by the United States of America and good cause having been shown, IT IS

17 HEREBY ORDERED that:

18             1.     The sentence of imprisonment for defendant Thomas JOPSON in
                      Case No. 2:11-CR-0275 JAM is hereby REDUCED to time served pursuant to
19                    Rule 35(b) of the Federal Rules of Criminal Procedure based upon the
                      government’s motion; and
20
               2.     The defendant’s presence for resentencing on this matter is WAIVED based upon
21                    his counsel’s representation to the government’s attorney.
22

23       IT IS SO ORDERED.
24

25 DATED: 3/30/16                          /s/ John A. Mendez_______________________
                                           JOHN A. MENDEZ
26                                         UNITED STATES DISTRICT COURT JUDGE
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